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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MARYLAND

DAVID J. BOSHEA *
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Plaintiff *
*
v. * Case No. 1:21-CV-00309-ELH
*
COMPASS MARKETING, INC. *
*
Defendant. *
*
* * * * * * * * * * * * *
ORDER

This matter having come before the Court on David Boshea’s Unopposed Motion to Extend
Time to File Response, the premise having been considered, the motion shall be and hereby is
Granted. David Boshea shall file his response to Defendant Compass Marketing, Inc.’s Motion for
Reconsideration of Order Denying Renewed Motion for Judgment as a Matter of Law or, in the
Alternative, Motion for Reconsideration of Order Granting a New Trial on All Claims on or before

September 26, 2024.

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Ellen L. Hollander
United States District Judge

